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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
ALEXANDRIA DIVISION

JESSICA E. STEWART, ET AL., CIVIL DOCKET NO. 1:19-CV-013438
Plaintiffs

VERSUS JUDGE DRELL

CITIY OF LECOMPTE, ET AL.,
Defendants MAGISTRATE JUDGE PEREZ-MONTES

 

JUDGMENT

For the reasons contained in the Report and Recommendation of the
Magistrate Judge previously filed herein, noting the absence of objections thereto,
and concurring with the Magistrate Judge’s findings under the applicable law;

IT IS ORDERED that Defendants’ Motion to Dismiss (ECF No. 14) is
GRANTED IN PART as to Plaintiffs’ claim for punitive damages and that claim is
DISMISSED WITH PREJUDICE.

IT IS ORDERED that Defendants’ Motion to Dismiss (ECF No. 14) is
GRANTED IN PART as to Plaintiffs’ § 1983 claim against the Town of Lecompte for
damages pursuant to respondeat superior liability and that claim is DISMISSED
WITH PREJUDICE.

IT IS ORDERED that Defendants’ Motion to Dismiss (ECF No. 14) is DENIED
IN PART as to Plaintiffs’ state law claim against the Town of Lecompte for damages

pursuant to respondeat superior liability.

 
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THUS ORDERED AND SIGNED in Chambers at Alexandria, Louisiana on

pt.
this LV day of October, 2020.

CaS

JUDGE DEE D. DRELL
UNITED STATES DISTRICT COURT

 

 
